DANLEL JENKINS #64784-050 . “ORIC INA L
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DISTRICT OF NEW.UERGE¥? D 3:4
Givil Docket # 2:15-CcV-02
091-WHW
DANIEL JENKINS - PRO SE TT
PETITIONER, > MOTION REQUESTING SUPPLEMENTAL
. AUTHORITY OF CASELAW PREVIOUSLY
Vs. DECIDED BY CIRCUIT COURT OR

RAISED BY UNITED STATES SUPREME

COURT IN "MATHIS; 195 L.ED 2D 604

 

 

 

 

UNITED STATES OF AMERICA, "(2016 ).
RESPONDENT : .
PER. RULE - 2&(J)
TO:
HON: WILLIAM H. WALLS, USDJ MR. JONATHAN MICHAEL PECK,_AUSA
MLK COURTHOUSE 50 WALNUT ST. UNITED STATES ATTORNEY'S OFFICE
UNITED STATES COURTHOUSE 970 BROAD STREET:
NEWARK, NEW JERSEY 07102 NEWARK, NEW JERSEY 07102

 

-“ PROCEDURAL HISTORY

PETITIONER WILL RELY AND ADOPT THE PREVIOUSLY FILED PROCEDURAL HISTORY
INCORPORATED IN HIS ORIGINAL BRIEF FILED IN THIS MATTER

STATEMENT OF THE CASE

PETITIONER, DANIEL JENKINS . PRO SE, SUBMITS THIS SUPPLEMENTAL AUTHORITY

IN SUPPORT OF HIS 2255 HABEAS CORPUS PETITION WHICH WAS FILED ON _3/17/2015

AND WHICH WAS AMENDED ON _12/14/15 . PETITIONER SUBMITS THAT THIS
SUPPLEMENTAL AUTHORITY DOES NOT PRESENT NEW ISSUE'S, THEORIES, OR ARGUMENTS

IN THIS MATTER. BUT MERELY CLARIFIES EXISTING ONES AND BRINGS TO THE COURT'S

ATTENTION NEW CASELAW EXPLAINING PETITIONER'S GROUNDS FOR RELIEF WHICH WERE

PREVIOUSLY FILED IN HIS SECOND AMENDED PETITION.

(1)
LEGAL DISCUSSION

 

PETITIONER SUBMITS THAT IN LIGHT OF MATHIS V. UNITED STATES, 195 L.ED 2D
604 . ( 2016 ). HIS PRIOR STATE DRUG CONVICTIONS CANNOT BE USED AS ENHANCEMENTS
UNDER THE SENTENCING GUIDELINES. IN ‘MATHIS', THE COURT EXPLAINED THE
“CATEGORICAL” APPROACH TO BE APPLIED IN DETERMINING WHETHER A STATE CONVICTION
CAN BE COUNTED TOWARDS A SENTENCING ENHANCEMENT. "TO DETERMINE WHETHER A PAST
CONVICTION IS FOR ONE OF THOSE OFFENSES, COURTS COMPARE THE ELEMENTS OF THE
CRIME OF CONVICTION WITH THE ELEMENTS OF THE ‘GENERIC’ VERSION OF THE LISTED
OFFENSE. MATHIS, ID- AT 2248. IF THE ELEMENTS OF THE STATE STATUTE UNDER WHICH
THE DEFENDANT HAS A PRIOR CONVICTION ARE BROADER THAN THE ELEMENTS OF THE
BASELINE OFFENSE REFERENCED IN THE SENTENCING ENHANCEMENT, THEN THE PRIOR
CONVICTION CANNOT BE COUNTED. CRUCIALLY, AS THE COURT EXPLAINED IN MATHIS,
THE ELEMENTS OF THE STATUTE ARE TO BE CONSIDERED WITHOUT REFERENCE TO THE
SPECIFIC CONDUCT UNDERLYING A DEFENDANT'S PRIOR CONVICTION. IT IS THE SCOPE
OF THE ELEMENTS OF THE OFFENSE ITSELF WHICH ARE DISPOSITIVE. IF THE ELEMENTS
OF THE STATE OFFENSE ARE BROADER THAN THE BASELINE DEFINITION IN THE
SENTENCING ENHANCEMENT PROVISION, THEN PRIOR CONVICTIONS UNDER THAT STATUTE
CANNOT BE COUNTED TOWARDS THE ENHANCEMENT. THAT IS THE "CATEGORICAL" APPROACH
WHICH IS REQUIRED BY MATHIS. SEK - UNITED STATES V. DAHL, 833 F.3D 345, 350
(3D CIR. 2016). :

IN THIS CASE, THE BASELINE DEFINITION IN THE GUIDELINE ENHANCEMENT
PROVISION IS “CONTROLLED SUBSTANCE OFFENSE" WHICH IS FURTHER DEFINED BY THE
GUIDELINES AS AN OFFENSE

THAT PROHIBITS THE MANUFACTURE, IMPORT, EXPORT,
DISTRIBUTION, OR DISPENSING OF A CONTROLLED
SUBSTANCE OR THE POSSESSION OF A CONTROLLED
SUBSTANCE WITH INTENT TO MANUFACTURE, IMPORT,
EXPORT, DISTRIBUTE, OR DISPENSE. U.S.S.G. 4B1.2

THE NEW JERSEY DRUG STATUTE UNDER WHICH PETITIONER WAS CONVICTED DOES
NOT MATCH UP WITH THAT DEFINITION BECAUSE THE NEW JERSEY STATUTE ALLOWS FOR

CONVICTION FOR OFFENSES INVOLVING MATERIALS WHICH ARE BEYOND WHAT THE FEDERAL
LAW WOULD CONSIDER A "CONTROLLED SUBSTANCE”.

(2)
LEGAL DISCUSSION

SPECIFICALLY A SO CALLED DRUG "ANALOG" IN NEW JERSEY IS WITHIN THE SCOPE
OF THE NEW JERSEY STATUTE BUT IS BROADER THAN THRE SCOPE OF A FEDERAL
CONTROLLED SUBSTANCE.

IN ORDER TO QUALIFY AS A DRUG ANALOG UNDER FEDERAL LAW, THE SUBSTANCE
IN QUESTION MUST BE DEPRESSIVE, STIMULANT OR HALLUCINOGENIC ON THE CENTRAL
NERVOUS SYSTEM, 21 U.S.C. 802(32), WHILE THE NEW JERSEY STATUTE APPLIES TO
SUBSTANCES WHICH HAVE ANY SIMILAR DRUG EFFECT, WHICH WOULD INCLUDE
ANTIBIOTIC EFFECTS, ANALGESIC EFFECTS AND EFFECTS ON THE PERIPHERAL NERVOUS
SYSTEM, NONE OF WHICH WOULD QUALIFY AS DRUG ANALOGS UNDER THE FEDERAL STATUTE.

THE FEDERAL CONTROLLED SUBSTANCE ANALOGUE ACT DEFINES A "QONTROLLED

SUBSTANCE ANALOGUE" AS A SUBSTANCE:

(i) THE CHEMICAL STRUCTURE OF WHICH IS SUBSTANTIALLY
SIMILAR TO THE CHEMICAL STRUCTURE OF A CONTROLLED
SUBSTANCE IN SCHEDULE I OR II;

(11) WHICH HAS A STIMULANT, DEPRESSANT, OR HALLUCINOGENIC
EFFECT ON THE CENTRAL NERVOUS SYSTEM THAT IS
SUBSTANTIALLY SIMILAR TO OR GREATER THAN THE
STIMULANT, DEPRESSANT, OR HALLUCINOGENIC EFFECT ON
THE CENTRAL NERVOUS SYSTEM OF A CONTROLLED SUBSTANCE
IN SCHEDULE I OR II; OR

(iii) WITH RESPECT TO A PARTICULAR PERSON, WHICH SUCH
PERSON REPRESENTS OR INTENDS, TO HAVE A STIMULANT,
DEPRESSANT, OR HALLUCINOGENIC EFFECT ON THE CENTRAL
NERVOUS SYSTEM THAT IS SUBSTANTIALLY SIMILAR TO OR
GREATER THAN THE STIMULANT, DEPRESSANT, OR
HALLUCINOGENIC EFFECT ON THE CENTRAL NERVOUS SYSTEM
OF A CONTROLLED SUBSTANCE IN SCHEDULE I OR II.

21 U.S.6. 802(32)(A).

 

IN A FEDERAL PROSECUTION WHERE THE MEANS TO COMMIT THE OFFENSE INVOLVES
AN ANALOG, THE PRECISE NATURE OF THE PHARMACOLOGICAL EFFECTS OF THE
SUBSTANCE AT ISSUE ON THE CENTRAL NERVOUS SYSTEM IS A KEY MATTER WHICH MUST
BE PROVED. SEE - UNITED STATES V. NASIR, (E-.D. KY- SEPT. 25, 2013). IT
PLAINLY LIMITS THE SCOPE OF WHAT IS A CONTROLLED SUBSTANCE FOR PURPOSES OF
FEDERAL LAW, AND THIS WOULD APPLY TO THE GUIDELINES AS WELL. THAT DEFINITION
IS TO BE APPLIED TO ANY FEDERAL LAW:

(3)
LEGAL ARGUMENT

 

A CONTROLLED SUBSTANCE ANALOGUF SHALL. TO THE EXTENT
RNTENDED FOR HUMAN CONSUMPTION BE TREATED, FOR THE
PURPOSES OF ANY FEDERAL LAW AS A CONTROLLED SUBSTANCE
IN SCHEDULE T.

21 U.S.C. 813 (EMPHASTS ADDED)
NEW JERSEY, ON THE OTHER HAND, HAS A BROADER DEFINITION SUCH THAT A
CONVICTION UNDER THE NEW JERSEY DRUG LAWS CAN BE OBTAINED FOR A SUBSTANCE

THAT WOULD NOT BE A CONTROLLED SUBSTANCR . UNDER NEW JERSEY LAW:

CONTROLLED SUBSTANCE ANALOG" MEANS A SUBSTANCE THAT
HAS A CHEMICAL STRUCTURE SUBSTANTIALLY SIMILAR TO
THAT OF A CONTROLLED DANGEROUS SUBSTANCE AND THAT

WAS SPECIFICALLY DESIGNED TO PRODUCE AN EFFECT
SUBSTANTIALLY SIMILAR TO THAT OF A CONTROLLED
DANGEROUS SUBSTANCE. THE TERM SHALL NOT INCLUDE A
SUBSTANCE MANUFACTURED OR DISTRIBUTED IN CONFORMANCE
WITH THE PROVISIONS OF AN APPROVED NEW DRUG
APPLICATION OR AN EXEMPTION FOR INVESTIGATIONAL USF.
WITHIN THE MEANING OF SECTION 505 OF THE FEDERAL

FOOD. DRUG AND COSMETIC ACT". 52 STAT. 1052 (21 U.S.C.
355).

THUS THE STATE DEFINITION IS BROADER. IT DOES NOT MATTER WHAT SPECIFIC
SUBSTANCE WAS INVOLVEN IN PETITIONER'S PRIOR STATE CASES. UNDER THR
CATEGORICAL APPROACH WHAT MATTERS IS THAT ELEMENTS OF THR STATE STATUTE.

ARE BROADER THAN THE SCOPE OF THE BASELINE GUIDELINE DEFINITION. NEW JFRSEY'S
STATUTE IS NOT CORXTENSTVE WITH THE FEDERAL ACT BECAUSE SUCH FEDERAL ACT IS
NARROWER THAN THE DFFINITION UNDER NEW JERSEY LAW. AS STATED IN UNITED STATES
V. HINKLE, 832 F.3D 569 (STH. CIR. 2016), IT DOS NOT MATTER WHAT THE
DEFENDANT'S ACTUAL CONDUCT HAD BREN UNDERLYING THE TEXAS PRIOR CONVICTION.
ALL THAT MATTERED WAS THAT ‘THR ELEMENTS OF THE TEXAS STATUTE WERE BROADER
THAN THE DEFTNLTIONAL TERM UNDER THE GUIDELINES.

AS THE THIRD CIRCUIT EXPLAINED IN CHANG-CRUZ V. ATTORNEY GENERAL, 3D
CIR. NO. 14-4570)(AUGUST 24, 2016) IF THE FACTUAL ISSUF IN QUESTION IS NOT
AN ALTERNATIVE ELEMENT, THEN UNDER THE CATEGORICAL IF THE SCOPF OF THE

STATE STATUTF, TS BROADER THAN THE APPLICABLE DEFINTTION, THE PRIOR STATE

CONVICTION CANNOT BE EMPLOYED.

(4)
LEGAL ARGUMENT

 

PETITIONER SUBMITS THAT THE CATEGORIZATION OF HIS N.J-.S-A. TITLE 35
OFFENSE AS~*A CONTROLLED SUBSTANCE OFFENSE WOULD DEPEND ON FACTS UNDERLYING
THE CONVICTION WHICH ARE NOT ELEMENTS OF THE OFFENSE. DESCAMPS AND MATHIS
DICTATES THAT WHEN SUCH OCCURS THE STATUTE IS OVERBROAD AND THEREFORE FAILS
AS A PREDICATE OFFENSE UNDER THE CATEGORICAL APPROACH. SEE - 133 S.CT. AT
2281-82 (PROHIBITING A COURT FROM LOOKING TO AN OFFENDER'S UNDERLYING
CONDUCT TO DETERMINE THAT A PRIOR CONVICTION QUALIFIES AS A PREDICATE OFFENSE
WHEN "THE ELEMENTS OF THE CRIME FAIL TO SATISFY THE CATEGORICAL TEST).

PETITIONER SUBMITS THAT HIS STATE DRUG CONVICTIONS ARE OVERBROAD IN
THAT THEY CRIMINALIZE CONDUCT THAT IS NOT ALWAYS CONSIDERED A FEDERALLY

DEFINED "CONTROLLED SUBSTANCE OFFENSE”. THEREFORE, A VIOLATION OF THE STATUTE

 

IS NOT A PREDICATE OFFENSE FOR PURPOSES OF THE CAREER OFFENDER ENHANCEMENT.
"MATHIS", "DESCAMPS", 133 S.CT. AT 2283 (IF THE STATUTE SWEEPS MORE BROADLY
THAN THE GENERIC CRIME. A CONVICTION UNDER THAT LAW CANNOT COUNT AS A
PREDICATE. EVEN IF THE DEFENDANT ACTUALLY COMMITTED THE OFFENSE IN ITS
GENERIC FORM"). THE FACTUAL CIRCUMSTANCES OF THE CONVICTION ARE NOT WHAT
MATTER, THE KEY IS THE ELEMENTS OF THE CRIME. THE LAW IS CLEAR THAT THE
CATEGORICAL APPROACH DETERMINATIONS APPLIES TO CAREER OFFENDER ENHANCEMENTS
ROTH BEFORE AND AFTER DESCAMPS. SEE - UNITED STATES V. STINSON, 592 F.3D

460 (3D CIR. 2010); UNITED STATES V. JONES, 740 F.3D 127 (3D CIR. 2014).

 

PETITIONER THEREFORE SUBMITS THAT THE COURT SHOULD FIND THAT HIS
STATE CONTROLLED SUBSTANCE OFFENSE'S DO NOT QUALIFY FOR FEDERAL ENHANCEMENT
PURPOSES AND THAT THE CAREER OFFENDER DESIGNATION WAS ERRONEOUSLY IMPOSED.

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